














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-1131-12





DAVID GLENN BOYD, JR., Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE FIFTH COURT OF APPEALS

GRAYSON COUNTY





Per curiam.  Keasler and Hervey, JJ., dissent.


ORDER

	The petition for discretionary review violates Rule of Appellate Procedures 68.4(i)
and 68.5, because the petition does not contain a copy of the opinion of the court of
appeals and the grounds and reasons for review are longer than 15 pages.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be
filed in the COURT OF CRIMINAL APPEALS within thirty days after the date of this
order.



Filed: November 14, 2012 

Do Not Publish


